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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


UNITED STATES OF AMERICA

               v.                                    CASE NO. 8:06-cr-246-T-17MAP

JOHN JAIRO SATIZABAL,
JUAN SALAS-MERINA
JAIME SALAZAR-VIVA,
HEYMER ANGULO-MOSQUERA,

                  Defendants.
_______________________________/

                            REPORT AND RECOMMENDATION

       The Defendants are charged with conspiracy and possession with intent to distribute five

kilograms or more of cocaine while on board a stateless vessel in violation of the Maritime Drug

Law Enforcement Act (“MDLEA,” see 46 U.S.C. app. § 1901, et seq.). All move to dismiss the

indictment contending the government cannot prove the vessel at issue was stateless and therefore

subject to the jurisdiction of the United States (doc. 33).1 In response, the government counters

stating the go-fast boat bore no indicia of nationality. After an evidentiary hearing on the matter,

I recommend the motion be denied.

       A. The MDLEA

       The MDLEA makes it “unlawful for any person … on board a vessel subject to the

jurisdiction of the United States … to knowingly or intentionally manufacture or distribute, or




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         Defendant Angulo-Mosquera filed the motion to dismiss which the remaining Defendants
adopted. The district judge referred the matter to me for a report and recommendation pursuant to
28 U.S.C. § 636 and Local Rule 6.03(b). See doc. 48.
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possess with intent to manufacture or distribute, a controlled substance.” 46 U.S.C. app. § 1903(b).2

The Act defines a “vessel without nationality” as “a vessel aboard which the master or person in

charge makes a claim of registry, which claim is denied by the flag nation whose registry is claimed;

any vessel aboard which the master or person in charge fails, upon request of an officer of the United

States empowered to enforce the applicable provisions of United States law, to make a claim of

nationality or registry for that vessel; and a vessel aboard which the master or person in charge

makes a claim of registry and the claimed nation of registry does not affirmatively and

unequivocally assert that the vessel is of its nationality.” § 1903(c)(2)(A), (B), and (C). A claim

of nationality or registry only includes: “possession on board the vessel and production of

documents evidencing the vessels nationality in accordance with article 5 of the 1958 Convention

on the High Seas; flying its flag nation’s ensign or flag; or a verbal claim of nationality or registry

by the master or person in charge of the vessel.” § 1903(c)(3)(A), (B), and (C). Lastly, Congress

specifically noted that “all jurisdictional issues arising under this chapter are preliminary questions

of law to be determined solely by the trial judge” and whether a vessel is “subject to this chapter is

not an element of any offense.” § 1903(f); see also United States v. Tinoco, 304 F.3d 1088, 1107-12

(11th Cir. 2002) (finding this provision of the Act constitutional because this jurisdictional provision

is not a traditional element or otherwise an essential ingredient of a criminal offense).

       B. Facts

       On June 12, 2006, a helicopter on routine patrol from the United States Coast Guard Cutter

Alert spotted a go-fast traveling at a high rate of speed in international waters north of the Galapagos

Islands. Matching the ocean’s light green color and powered by four outboard engines, the speedy


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           Section 1903(j) prohibits a conspiracy or attempt to do the same.

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craft fit the profile of a narcotics smuggling vessel. It flew no flag, bore no markings, nor displayed

any indicia of nationality. When the helicopter’s crew hailed the go-fast with a loudspeaker,

flashing lights, and siren, the go-fast’s crew refused to comply. The crew likewise ignored warning

shots across the go-fast’s bow. Finally, the USCG fired two rounds into the engines disabling them

in part. Unable to escape, the go-fast’s crew jettisoned large bales overboard. Marking the area

with a buoy, the helicopter returned to the Alert to refuel. A Customs maritime patrol aircraft (a P-3

Orion) picked up the surveillance finding the go-fast on the stern of a larger boat, the F/V Maria Jose

Del Mar. Aircraft personnel spotted a crew member from the go-fast jump into the ocean and the

small craft reverse course away from the larger boat. By the time the USCG’s boarding party

arrived on the scene, its members had already visited the debris field and picked up bales of

suspected cocaine.

       LTJG Antonio Donis, who was charged with conducting the right of approach to the F/V

Maria Jose Del Mar, spoke to the master of the fishing vessel (Tenorio). Tenoria stated the Maria

Jose Del Mar had left Buenaventura, Colombia with seven on board. The previous day, they had

rescued an additional four men whose craft whose craft had sunk (Tenorio described their craft as

an eleven meter canoe). When Officer Donis showed him a photograph of the go-fast taken by the

USCG’s helicopter crew, the master changed his story. Now he recognized the go-fast as similar

to the one used by the four rescued crew members.

       Officer Donis next confronted the four seamen and asked who was the master of the go-fast.

Defendant Satizabal acknowledged being the master and stated they had left Guapi, Colombia. He

admitted his boat was not registered, although all were Colombian. However, when Donis showed

Satizabal a photograph of the go-fast, he denied that was his vessel. Donis relayed this information


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to his district superiors who deemed the vessel stateless. Id.

       C. Discussion

       This case is really materially indistinguishable from Tinoco and a host of smuggling cases

at the circuit (reported and unreported) and district levels applying Tinoco’s reasoning to a challenge

under the MDLEA. Tinoco, 304 F.3d at 1088. All, when presented with facts similar to here, found

the vessels stateless and subject to the court’s jurisdiction under the MDLEA. See United States v.

Martinez, 202 F. App. 353 (11th Cir. 2006) (go-fast that flew no flag, had no name, registration

number, home port, or other indicia of nationality; crew made no claims of nationality and everyone

denied being master); United States v. Estupinan, 453 F.3d 1336 (11th Cir. 2006) (go-fast

abandoned by crew and set afire; defendant conceded issue of statelessness given evidence that

vessel “was without nationality” under MDLEA); United States v. Valencia, 169 Fed. App. 565

(11th Cir. 2006) (go-fast north of Ecuador matching the color of the sea was unmarked, had no flag,

and no registration numbers; no one claimed to be the captain but stated they found the boat in

Ecuador although all were from Colombia); United States v. Rendon, 354 F.3d 1320 (11th Cir. 2003)

(go-fast without markings, registration; one of the crew claimed to be the master and said vessel

registered in Colombia but Colombian authorities could not confirm); United States v. McPhee, 336

F.3d 1269 (11th Cir. 2003) (go-fast’s master claimed vessel registered in Bahamas but Bahamian

authorities did not unequivocally affirm; vessel considered stateless); United States v. Umbacia,

2005 WL 1424821 (M.D. Fla. June 17, 2005) (vessel bore no flag or markings of nationality; crew

identified themselves as Colombian but no one made a claim of registry).3


       3
         Martinez and Valencia are unreported decisions; accordingly, under 11th Cir. R. 36-2 are
not to be considered binding precedence. Nevertheless, they present a consistent pattern of
documented conduct and a consistent application of the law to that conduct.

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       In Tinoco, crew members claimed the government had insufficient proof that their vessel was

without nationality and that the Coast Guard acted in bad faith since its officials led the Columbian

Navy to believe further attempts to learn the vessel’s name and registration would be futile.

However, the Eleventh Circuit concluded that the Coast Guard had no duty to conduct a follow-up

investigation when a thorough search of the vessel had revealed no indicia of the vessel’s name or

registration. Moreover, the Coast Guard had no duty to press the crew members for more

information regarding the vessel’s registration even when they had initially been cooperative with

the Coast Guard’s efforts to attain such information.

       This case is not materially different. The Coast Guard personnel diligently searched what

they could, albeit without a vessel, and attained what scant information they could from its purported

crew. As in Tinoco, even if the Coast Guard had investigated further and provided more (or any)

information to the claimed country of registry, there is no evidence in the record that a different

result would have been reached. Tinoco, 304 F.3d at 1115-16.           Though Defendant Satizabal

acknowledged being the master of an unregistered boat that had left Guapi, Colombia, he

simultaneously denied his vessel was the one chased by USCG; indeed, his claim of nationality was

meaningless. See Umbacia, 2005 WL 1424821 at *2 (finding U.S. jurisdiction under 46 U.S.C. app.

§ 1903(c)(2)(B) where master or person in charge of vessel failed to make a claim of registry but

identified the vessel as Columbian and holding that there is no affirmative obligation on part of

Coast Guard to investigate the nationality of the vessel under such circumstances). Additionally,

as in Umbacia, defense counsel have failed to tender any evidence supporting Defendants’ assertions

or inferences of Columbian registry of the vessel.

       D. Conclusion


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       In short, the government has demonstrated beyond a reasonable doubt that the go-fast loaded

with contraband the Coast Guard spotted, hailed, and partially disabled on June 12, 2006, was

stateless.4 Accordingly, it is hereby

       RECOMMENDED:

       1. Defendants’ motion to dismiss (doc. 33) be DENIED.

       IT IS SO REPORTED in Tampa, Florida on March 1, 2007.




                                    NOTICE TO PARTIES

       Failure to file and serve written objections to the proposed findings and recommendations
contained in this report within ten (10) days from the date it is served on the parties shall bar an
aggrieved party from a de novo determination by the District Court of issues covered in the report,
and shall bar the party from attaching on appeal factual findings in the report accepted or adopted
on appeal by the District Court except upon grounds of plain error or manifest injustice. 28 U.S.C.
§ 636(b)(1)(C); Local Rule 6.02; Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982)(en banc).

cc:    Hon. Elizabeth A. Kovachevich
       Counsel of Record




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         The Tinoco panel left open for debate the evidentiary standard to be applied for proving
the MDLEA’s jurisdictional requirement (preponderance of the evidence or proof beyond a
reasonable doubt). Irrespective, I find the government has satisfied the higher burden.
